Case 5:20-cv-04419-EGS Document 2 Filed 09/04/20 Page 1 of 9

FORM TO BE USED BY A PRISONER FILING A
42 U.S.C. 6 1983 CIVIL RIGHTS COMPLAINT
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

I CAPTION

“Susan Ec. Schuce ileus

 

(Enter the full name of the plaintiff or eT

v.

“Troopert> hatthe w Ke Wy j

 

Raymond Sch ecmechorr cny, Sugerviser John Doe y

 

, Troope: Ss) Sohn Dee BO. ond: So hn Doe &S

 

(Enter the full name of the defendant oF * defendants)

a.

b.

II. PARTIES

Plaintiff —— ‘ . '
Full name: ay uUshn c. S eWUraw \e LI

1{5S493

Place of present confinement: Leh igh County ai\
383 North YROr At lento say PA [Slog

 

Prison Identification number:

 

Address:

 

Place of confinement at time of incidents or conditions alleged in complaint, including address:

Ve naga lente Sta AC Gelvce Foc gesville, | PA berrecks

ec

   

Additional plaintiffs: Provide the same information for any additional plaintiffs on the reverse of
this page or on a separate sheet of paper.

Defendants: (list only those defendants named in the caption of the complaint, section I)
1. Full name including title wie Oo eer ~ ~ atth eu \Z eZ \\ 4 ;

Place of employment and section or unit: PA State Po \ree fogelsv Vi i\le.
2. Full name including title: Tr faye 2 26 Rasy mond Seherrn € ch or

Place of employment and section or unit: PA State fo \ \ce Fogel sv ile
3. Full name including title: Ss Ke erv { Som Soh ab am

Place of employment and section or unit: fA State. Pol KR. Fegels vi \\ Rg
4, Full name including title: 1 oS ePer So h a Po & te)

AN $
Place of employment and section or unit: PA Ste#Ae Police Fo & els Vv \\ gz

Additional defendants: Provide the same information for any additional defendants on the reverse of
this page or on a separate sheet of paper.
Case 5:20-cv-04419-EGS: Document 2 Filed 09/04/20 Page 2 of 9

II, PREVIOUS LAWSUITS
NO PRiee& LINGATNON

Instructions:

e

complaint or other facts related to your imprisonment, you must provide the information requested
b » If you have not filed other lawsuits, proceed to Section IV, Administrative Remedies, on
this page.

‘ee have filed other lawsuits in any federal or state court dealing with the same facts as this
elo

If you have filed other lawsuits, provide the following information.
‘\
Parties toxyour previous lawsuit:
Plaintiffs
~
\

\
Defendants
*

Issues: ty, :
\

‘\
\
‘\

\
Court: if federal, which district? _\.
we

if state, which county? \

Docket number: % Date filed:

X

 

Name of presiding judge: \

Disposition: (check correct answer(s)): Date:

 

 

 

 

 

Dismissed Reason?
\
Judgment In whose favor? A
x
Pending Current status? \
X
Other Explain \
%
Appeal filed? Current status? \

 

\

Additional lawsuits. Provide the same information concerning any other lawsuits you have filed
concerning the same facts as this action or other facts related to your imprisonment. You may use
the back of this page or a separate sheet of paper for this purpose. \

IV ADMINISTRATIVE REMEDIES

Instructions:

Provide the information requested below if there is an administrative procedure to resolve the
issues your raise in this complaint. Examples of administrative procedures include review of
grievances, disciplinary action, and custody issues. If no administrative procedures apply to the
issues in this complaint, proceed to Section V, Statement of Claim, on page 4.
Case 5:20-cv-04419-EGS Document 2 Filed 09/04/20 Page 3 of 9

N/A NO ADMINISTRATIVE PROCEDURES AVAILABLE

a. Describe the administrative procedures available to resolve the issues raised in this complaint:

Type of procedure. (grievance, disciplinary review, etc.)

 

Authority for procedure. (DC-ADM, inmate handbook, etc.)

 

 

Fi “meer informal procedure.

Who conducts the initial review?

 

\

\
‘

 

What additional review and appeals are available?
\

\

\

 

 

b. Describe the administrative procedures you followed to resolve the issues raised in this complaint
before filing this complaint:

 

On what date did you request initial review?

 

What action did you ask prison authorities to take?
\

\
\

 

What response did you receive to yourrequest?

\
\

\
What further review did you seek and on whut dates did you file the requests?
\

\

\
\

What responses did you received to your requests sonYurther review?

\
c. Ifyou did not follow each step of the administrative procedures available toxesolve the issues

raised in this complaint explain why? ; \

 

 
Case 5:20-cv-04419-EGS Document 2 Filed 09/04/20 Page 4 of 9

V. STATEMENT OF CLAIM

Instructions:

State here as briefly as possible the facts of your case. Use plain language and do not make legal
arguments or cite cases or statues. State how each defendant violated your constitutional rights.
Although you may refer to any person, make claims only against the defendants listed in the
Caption, Section I. Make only claims which are factually related. Each claim should be numbered
and set forth in a separate paragraph with an explanation of how the defendants were involved.

Use the reverse of this page or a separate sheet of paper if you need more space.

Statement of Claim:

tq. On or about September ers, AONd at 1914 houss
+he Pennsylve Ave State. Police ( FogeAsvi lle) arrested me
at 1091 Mill Creek. Rd in Lower Macungie =Taesas ies
Lehigh Co unty Phe At the aforementioned time and
glece oF acces est My vehicle was clearly visible gacked
in handicee gacking with handicap placard displayed
in clear viel + also had My cane to assist Walking
(toe Lalande Vx ae arvestiag  thters > Treo gers Matthew
K ally and Raymond Se checmechern, used ence SS lve
Gonde during ArresT by placing me on the ground
excessively hard thereby inHicting ahead } imury fo
ME. Causing a bleeding bawes

 

SEE ATTACHED PAGES

VI. RELIEF
Instructions: Briefly state exactly what you want the Court to do for you.
Relief sought:
n ominel dam ages
P un tive a G4 age5
Vdeclarn c decree. megraic ing Pro eer State Police +reaning
disciglingne action ot all Seten banks J

VIL. DECLARATION AND SIGNATURE

I (we) declare under penalty of perjury that the foregoing is true and correct.

3/26/2020 Quake hd ~_

DATE (7 SIGNATURE OF PLAINTIFF(S)

 
Case 5:20-cv-04419-EGS Document 2 Filed 09/04/20 Page 5of9

OL. PARES
b. defendant
S: “Treseer Sshn Poe & 3
PA Store Police Fagelevi lie
V: STATEMENT OF CLAIM
LT. Fn addition Troopers Matthew Kelly and Raymond
Schecmerhorn fur displayed reckless and cah\ous
indifference towards me during arrest bu their bl
Ignoring te af rementroned "ear| vichle hand icag?
iNdicadocs Cane needed vehicle Ba handle parking Laith
placerd which the aforementioned Seferdants already identified
CLS elonging To oe L have nine (4) degenerated discs in
my sping dfong v Spina] cord compressione Given my
ysiced Condition along Lith the etorementioned facts ang
Ry person Wold suspect physical limitenins exist and
thax due to the amount of 2xCESSIVE farce, otticers used
they Were récleless and callous ly inHiching Substenmea
path and sutfering pen Me. 4p
On oc about September ABH, 2014 nee ST -

“arrest at 1919 he s (in ehorernendroned |
Arango by Pennsylvarda State Police + Re Fogelsville CA

: k ; ! i Ludeanes.
barracks. Ar the Ahocementoned lecamon Cetronia Pew .
Stott inspected Pty head injury [treme +har Was intlicred by
Treepers elt and Schermer Domeuia TPS: Cetronia Arb id ance
Emi advised Gut L be +ranspocted ee hesertah foc .
treatmencT dueto Ke extent ofthe etcementicned hens inyucye
“Troopers el\ » Scheemerhsr ny Supervise r Sohn Does Treoger
Doe ¥2) and roger Poe #3 (reterenced ae as

- , lle demonstrated deliberate ibe erence TO
Foe Fogo le need in that thee conspired +0 deny med ical
treat ment of My Serious bleeding head Invury |tKamee
 

en STAT FASS S2OGY-94419:5GS Document 2 Fi
TL. Lr can and show b Filed 09/04/20 Page 6 of 9
reached as When “s, & construed that there lo
Emr (and Se ete aL * stencted the reement-
ote to & hes pita actives) that LT wold nee b etrome
. insung/trama. nene vhake Peo e ot the ate .
(co\\ectivel detendents ) Fel e PSRP- FoaeAsvi\\ cementioned
SE my civil eights (dem ag Sain ae vedere
Croecatian Cameene Rar AAG neglect abd eniel
ee tinder iy to deprive my thal refusal to
een Se ceca, aw) and thereL Ais rier to egune|
deleke of eatin). Foc medical need Peat “Airy deliberete.
etendants . to e-more all if Ha CAMSing a Wwatrty
b ee knows e atore -
arcacks and ee dle edge y Were precede hes
presented With a cet A (iA agreement) wh Re sais
Greed Al Li Bae totrentrnent oh
lasses ty read the f, endl as éath prep degnart (\sintch
+o gn”). Ash | Fused and j J
A read and review +h a é defendants ref, al InNStrucked
ane, aad show > a Patient Ret use Linon, te asta Me
Pe icc /eustorr : seertainthis iy CM ation Si. 4
d of TSP- fF ? a become 2 ll
ak is to Conse ire An cl oge|sville (co ectivel ele be
for a clearly v ‘4 1[ eny med ical ne d efendants
: 4 Lille, deena ted) atmert buad )
Jeliberacte, ind iffgrence a5 54 edical need (thet? a. doctor
weuld be ) daariashe. b s stated secious medi A nee +o
othe arvoeve Teer a a's pers coh need
Lb cf “ Mons See 4h J oo) ein Ss ont
Ar dance Coces - Patient R 2 inclured aa “EP
form thar deAendarts etusad Tint 2 emtroniia
presented a we Sheet”

|O-
 

 

   

‘Case 5:20-Cv-04419-EGS Document 2 Filed09/04/20 Page7of9
A CETRONIA | °
FS SES F
ty
] AMBULANCE CORPS .{@

(y

TATI

Patient Refusal Information Sheet
Please read and retain a copy of this form!

atitthis form has been given to you based on your decision to Refuse Treatment and / or Transport
ha by the Emergency Medical Services of Cetronia Ambulance Corps. Your health and safety are our
Mk primary concern. Even though you have decided not to accept our advice, please remember the

enn) following:

The evaluation and / or treatment provided to you by Cetronia Ambulance Corps is not a substitute
for medical evaluation and treatment by a doctor. We advise you to seek medical evaluation and

Initials
treatment.
Your condition may not seem as bad to you as it actually is. Without treatment, your condition or
problem could become worse. If you are planning to seek medical treatment, a decision to refuse
Initials treatment or transport by this EMS crew may result in a delay of treatment and could make your

condition or problem worse.

Medical evaluation and / or treatment may be obtained by calling your doctor if
you have one, or by going to any hospital Emergency Department in this area. All

Initials local hospitals are staffed with emergency physicians 24 hours a day. You may be
seen at these emergency departments without an appointment.

If you change your mind, your condition worsens or you decide to accept treatment
and transport by Emergency Medical Services, please do not hesitate to call us

Initials
m back by dialing 911. We will do our best to help you.

Don’t Wait! When medical treatment is needed, it is usually better to receive treatment
right away.

A Cetronia EMS provider checked my Blood Pressure IS 4 \ OG, | ; Pulse_ I oh ; Respirations l Ly

| specifically refuse the following care/treatment: +/an'S pax 1- tp Wospita L

Initials

Initials

Initials
If the box on the left has been checked, your problem or condition has been discussed
[ | with a doctor at the hospital by radio or telephone and the advice of this doctor was
relayed to you by the emergency medical services personnel.

Legal Guardian — By checking the box to the left, you attest to be the legal guardian of
this patient in this situation and are acting on behalf of the patient. By signing the form
[| below you indicate that you have read and understand the above information regarding
refusal of treatment and / or transportation. No patient under 18 years of age may
refuse treatment and / or transport without the signed consent of a Legal Guardian.

Relation to Patient:

 

 

Guardian’s Name (Printed):

Guardian’s Signature: _____ Date: eat

ee 4 Nor re Lect ert 20 QD)

( Patient’s Signature: eke! +0 2/5 A_) ete 4/2 4 ae
= Y : 2

Provider Signature: btma lh. | Date: 2/28/15

tie ij ELLT Relation to Patient: 7KeefEZ

 

 

Witness Signature:
Case 5:20-cv-04419-EGS Document 2. Filed 09/04/20 Page 8 of 9

 

 

 

 

 

DGSd SHEA YER ET.

peering

 

 
im
N
c
D
E
5
o
°
a
Y
O
LU

cv-04419-

20-

Case 5

led 09/04/20 P ge 9 of 9

it

bata!

teil!

Uy

pila

le

lel

 

 
